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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MITCHELL HIGGINS and TIM        )
MCHENRY, individually and on    )
behalf of similarly situated    )
individuals,                    )
                                )
                 Plaintiffs,    )
                                )
      vs.                       )                       Case No. 23 C 5611
                                )
YAMAHA MOTOR CORPORATION,       )
U.S.A. and NIELSEN ENTERPRISES, )
INC.,                           )
                                )
                                )
                 Defendants.    )

                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Plaintiffs Mitchell Higgins and Tim McHenry have sued Yamaha Motor

Corporation, USA and Nielsen Enterprises, Inc. Higgins and McHenry claim that

Nielsen and Yamaha knowingly marketed and sold them each a Yamaha WaveRunner

with a defective fuel gauge and trip computer. Higgins and McHenry allege that in so

doing Yamaha and Nielsen violated the Illinois Consumer Fraud Act, Yamaha

committed common law fraud and breached its written warranty, and Nielsen breached

the implied warranty of merchantability. Yamaha and Nielsen have moved to dismiss all

of the plaintiffs' claims. For the reasons below, the Court grants their motions.

                                      Background

       In 2022, Higgins and McHenry each purchased a new 2022 Yamaha FX Cruiser

HO FX1800F-XA personal watercraft (WaveRunner) from Nielsen Enterprises, Inc.
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Yamaha designed and manufactured the WaveRunner. Nielsen is an authorized

Yamaha dealer. Higgins paid $23,190 for his WaveRunner and took delivery of it on

May 14, 2022. McHenry paid $21,576.79 for his WaveRunner and took delivery of it on

October 22, 2022. They both placed the orders for their WaveRunners months in

advance. Nielsen provided Higgins and McHenry each a hard copy of the Yamaha

owner's manual at the time of purchase. The plaintiffs also received a written one-year

warranty from Yamaha that covered material and workmanship defects with their

watercraft.

       Before making their purchases, Higgins and McHenry both reviewed the

WaveRunner's specification information and advertising material on Yamaha's website.

WaveRunners are marketed as luxury watercraft with a fuel capacity of 18.5 gallons.

Higgins purchased this model of WaveRunner intending to tour large bodies of water,

and McHenry similarly made his purchase intending to go on long excursions.

       Upon first riding their watercraft, Higgins and McHenry each discovered defects

with the WaveRunner's fuel gauge and trip computer. The fuel gauge would read full for

one to two hours of riding and then would drop off to read near zero even though the

tank was still approximately 50-55% full. The gauge would then drop to "empty" when

the tank was 40-45% full, and a loud low fuel warning alarm would sound. Once the

WaveRunner's fuel alarm sounds, it cannot be silenced for the return trip to shore, and

the computer software for the dash locks the touchscreen if there is any throttle input.

The alarm is distracting and impairs the rider's ability to hear other alarms to maintain

the situational awareness needed to avoid collisions. The plaintiffs also allege, on

information and belief, that the WaveRunner cannot actually hold 18.5 gallons of fuel.



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       Higgins and McHenry also claim the trip computer screen is defective. The trip

computer screen displays the distance traveled and gallons of fuel consumed. When

the WaveRunner is turned off for a short period of time, for example when the rider

takes a snack break, the gallons used resets back to zero when it is restarted. Higgins

and McHenry claim this makes it impossible to track the total distance traveled and fuel

consumed if the rider takes a short break.

       Because of these issues, Higgins and McHenry say, they must open the fuel tank

to determine whether there is any fuel left, and the WaveRunners can be used safely for

only half of their designed range. Rather than touring large bodies of water, Higgins is

limited to riding around a marina, close to shore. McHenry has also been unable to take

the long trips he intended and alleges he must wear earplugs because the fuel alarm

cannot be silenced.

       The plaintiffs consulted their owners' manuals when they had questions about the

features, operations, or care of their watercraft. They understood the manual to contain

the specifications of the watercraft, instructions for maintenance and use, and all

appropriate warnings and limitations regarding the make and model of their

WaveRunners. The manual does not warn that the fuel alarm will sound when the tank

is 40-45% full. It says that "[t]he fuel level meter shows the amount of fuel remaining in

the fuel tank using the number of display segments. If the amount of remaining fuel is

low, the fuel level meter is displayed in red." Am. Compl., Ex. B at 42. It also says that

"[w]hen the fuel level is low, the fuel meter changes to red, and a buzzer sounds

intermittently" and instructs the drier to "refill the fuel tank as soon as possible" if the fuel

warning is activated. Id. at 64.



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        Nielsen is Yamaha's agent for the purpose of performing warranty repairs, and

Higgins requested repairs from Nielsen on multiple occasions within one year of taking

delivery. Nielsen advised that it was familiar with the fuel gauge problem and that

Yamaha did not have a solution. Higgins also submitted a complaint about the fuel

gauge to the Better Business Bureau, and Yamaha responded that it was "working

diligently on a fix for the fuel gauge concern" and that a Yamaha representative would

contact him to discuss his concerns in depth. Am. Compl., Ex. E. No one from Yamaha

followed up with Higgins.

        McHenry also reached out to Yamaha regarding the issues with his WaveRunner

on three occasions. Yamaha stated they would reach out about his complaints but did

not do so. He also contacted Nielsen about the issues, but they were unable to fix

them.

        The plaintiffs say they "do not know whether the problem is caused by the design

or manufacture of the watercraft and/or its components," Am. Compl. ¶ 12, but they

allege that if proper materials had been used and manufacturing standards followed, the

fuel gauges and trip screens would not have been defective. They allege that Yamaha

knew of the fuel gauge problem before their WaveRunners were manufactured and that

dozens of other purchasers have voiced similar complaints online.

        Higgins and McHenry have brought suit on behalf of themselves and others

similarly situated, alleging that Yamaha and Nielsen violated the Illinois Consumer

Fraud Act, that Yamaha committed common law fraud by misleading statement or half-

truth and breached its written warranty, and that Nielsen breached the implied warranty

of merchantability. Yamaha and Nielsen have moved to dismiss all of the plaintiffs'



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claims.

                                         Discussion

       When considering a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6), the Court views the complaint in the light most favorable to the plaintiff,

accepts all well-pleaded facts as true, and draws reasonable inferences in the plaintiff's

favor. Bell v. City of Chicago, 835 F.3d 736, 738 (7th Cir. 2016). To survive, a

complaint must contain sufficient factual matter "to state a claim to relief that is plausible

on its face." Lanahan v. County of Cook, 41 F.4th 854, 861 (7th Cir. 2022) (quoting Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The allegations must "plausibly

suggest that the plaintiff has a right to relief, raising that possibility above a speculative

level." Kubiak v. City of Chicago, 810 F.3d 476, 480 (7th Cir. 2016) (internal quotation

marks omitted).

A.     Breach of written warranty

       In Count 1, Higgins and McHenry argue that Yamaha has breached its written

warranty because it is unable to repair the fuel gauges in their WaveRunners. The

warranty states, in relevant part, that "new Yamaha WaveRunner watercraft purchased

from an authorized Yamaha WaveRunner Watercraft Dealer in the United States

(excluding its territories) will be free from defects in material and workmanship" for one

year from the date of purchase. Am. Compl., Ex. A.

       The Seventh Circuit has held that warranties for "material and workmanship" do

not cover design defects. See Voelker v. Porsche Cars N. Am., Inc., 353 F.3d 516, 520,

527 (7th Cir. 2003). As such, Yamaha contends that Higgins and McHenry have

alleged, at most, a design defect that is not covered by the written warranty. In their



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complaint, the plaintiffs have stated only that they "do not know whether the problem is

caused by the design or manufacture of the watercraft and/or its components." Am.

Compl. ¶ 12. And in their brief, they argue that it is "entirely possible that the [sic] all of

the affected watercraft had defective or badly-made parts relating to the fuel gauge

installed." Pls.' Resp. to Def.'s Mot. to Dismiss at 12. But though it may be possible,

Higgins and McHenry point to no alleged facts that tend to support that possibility or

otherwise suggest that the fuel gauge is a departure from the intended design. This is

not enough to withstand a motion to dismiss. "Because the plaintiffs here have not

nudged their claims across the line from conceivable to plausible, their complaint must

be dismissed." Bell Atl. Corp., 550 U.S. at 570.

B.     Breach of implied warranty

       The Court next addresses Count 2, the plaintiffs' claim for breach of implied

warranty. In Illinois, "a warranty that [] goods shall be merchantable is implied in a

contract for their sale if the seller is a merchant with respect to goods of that kind." 810

ILCS 5/2-314. To state a claim for breach of the implied warranty of merchantability, a

plaintiff must plausibly allege that the goods were not of merchantable quality at the

time of sale. For goods to be merchantable, they must, among other things, "pass

without objection in the trade under the contract description," be "fit for the ordinary

purposes for which such goods are used," and "conform to the promises or affirmations

of fact made on the container or label if any." Id. Higgins and McHenry contend that

Nielsen breached the implied warranty because it sold the WaveRunners despite

knowing that the fuel gauges and trip computers did not work.

       Nielsen argues that the plaintiffs' claim should be dismissed because they have



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failed to allege what the ordinary purpose of the WaveRunner is, and, in the alternative,

that they have not plausibly alleged that the WaveRunners are unfit for that purpose.

The plaintiffs contend that they did plead the ordinary purpose, as they stated that it is a

personal watercraft, and that "[t]he watercraft are advertised as fuel-efficient 'luxury' line

craft meant for touring larger bodies of water." Am. Compl. ¶ 21. Though the complaint

repeatedly states that it was their particular purpose to use their WaveRunners to tour

large bodies of water and take longer trips, the plaintiffs have not plausibly alleged facts

sufficient to support an inference that the ordinary purpose of the WaveRunner is to tour

large bodies of water. For example, Higgins and McHenry allege that the

WaveRunner's fuel tank is supposed to hold 18.5 gallons of fuel, but they make no

representations about the distance that can be traveled on a single tank or any other

features that indicate the ordinary purpose of the watercraft is to tour large bodies of

water. They directly quote a Yamaha advertisement that describes the watercraft as

"[t]he pinnacle of personal watercraft luxury – Engineered to redefine your expectations

of premium watercraft experiences, the FX Series combines unparalleled performance,

cutting-edge technology, and superior craftsmanship . . .," Am. Compl. ¶ 22, but this

likewise includes nothing to support the conclusion that the ordinary purpose of the

WaveRunner is to tour large bodies of water.

       Even if the Court were to conclude that the plaintiffs have adequately alleged a

more general ordinary purpose unrelated to a particular distance, such as "recreational

boating," or "being a personal watercraft," Higgins and McHenry have not plausibly

alleged that the WaveRunner is unfit for that purpose. They contend that the fuel alarm

creates safety concerns, but they have also alleged that they can use 55-60% of the



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gas in the tank riding without issue before the fuel alarm begins to go off. Indeed,

Higgins says he still uses the WaveRunner for "riding around the marina, close to

shore," Am. Compl. ¶ 45, and McHenry says he wears earplugs due to the fuel alarm,

which indicates that he likewise continues to ride his WaveRunner.

       Under these circumstances, the Court cannot conclude that Higgins and

McHenry have plausibly alleged that their WaveRunners were not in merchantable

condition at the time of sale. Accordingly, the Court dismisses Count 2.

C.     Fraud

       In Counts 3 and 4, Higgins and McHenry allege that the defendants are liable for

statutory and common law fraud. Generally, fraud claims are subject to the higher

pleading standard of Rule 9(b), which requires a plaintiff to "state with particularity the

circumstances constituting fraud." Fed. R. Civ. P. 9(b). Though "[m]alice, intent,

knowledge, and other conditions of a person's mind may be alleged generally," Fed. R.

Civ. P. 9(b), the complaint must "specifically allege the who, what, when, where, and

how of the fraud" to withstand a motion to dismiss. Haywood v. Massage Envy

Franchising, LLC, 887 F.3d 329, 333 (7th Cir. 2018) (internal quotation omitted).

       1.      Illinois Consumer Fraud Act

       To state a claim for fraud under the ICFA, Higgins and McHenry must allege "(1)

a deceptive or unfair act or promise by the defendant; (2) the defendant's intent that the

plaintiff rely on the deceptive or unfair practice; and (3) that the unfair or deceptive

practice occurred during a course of conduct involving trade or commerce." Camasta v.

Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 739 (7th Cir. 2014) (internal quotation marks

omitted).



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       For ICFA claims, "deceptive conduct is distinct from unfair conduct. A claim

under the Consumer Fraud Act may be premised on either (or both), but the two

categories have different pleading standards." Vanzant v. Hill's Pet Nutrition, Inc., 934

F.3d 730, 738 (7th Cir. 2019). If the claim is based on deceptive conduct, then the Rule

9(b) pleading standard applies. But a plaintiff may also allege the conduct is unfair

without alleging it is deceptive, in which case "Illinois courts consider three factors:

whether it 'offends public policy'; is 'immoral, unethical, oppressive, or unscrupulous'; or

'causes substantial injury to consumers.'" Id. at 739 (quoting Batson v. Live Nation

Entm't, Inc., 746 F.3d 827, 830 (7th Cir. 2014)). The factors are considered holistically—

"a plaintiff need not satisfy all three." Id. For example, a practice can be unfair due to

the degree to which it meets one criterion, or because it meets all three to a lesser

extent. Id. "And because fraud is not a required element, Rule 9(b)'s heightened

pleading standard does not apply" when the plaintiffs assert an unfair conduct claim. Id.

       Higgins and McHenry allege that both Yamaha and Nielsen violated the ICFA.

They argue that it was deceptive and unfair for Yamaha to promote the sale of the

WaveRunner as a "luxury" watercraft capable of touring large bodies of water even

though it had a defective fuel gauge and trip computer screen without disclosing those

defects. They also allege that the owner's manual is a direct communication by

Yamaha to new and used watercraft purchasers and that the affirmations and

descriptions within it "are part of what is being sold and became part of the basis of the

bargain with respect to both Yamaha and Nielsen." Am. Compl. ¶ 67. The plaintiffs

thus claim the defendants made both affirmative misrepresentations and omitted facts.

       Higgins and McHenry have not plausibly alleged, consistent with Rule 9(b), an



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affirmative misrepresentation that can sustain their claim for relief. First, assertions by

Yamaha that the WaveRunners are "luxury" watercraft do not rise to the level of

deceptive factual misrepresentations that can justify relief. Rather, they amount to

puffery. "Puffing in the usual sense signifies meaningless superlatives that no

reasonable person would take seriously, and so it is not actionable as fraud." Barbara's

Sales, Inc. v. Intel Corp., 227 Ill. 2d 45, 73, 879 N.E.2d 910, 926 (2007) (quoting

Speakers of Sport, Inc. v. ProServ, Inc., 178 F.3d 862, 866 (7th Cir. 1999)). The Illinois

Supreme Court has made clear that "general statement[s] that one's products are best

is not actionable as a misrepresentation of fact." Id. (quoting Avery v. State Farm

Mutual Auto. Ins. Co., 216 Ill. 2d 100, 174, 835 N.E.2d 801, 846 (2005)). Indeed, the

Court has identified as puffery descriptive phrases like "high-quality," "expert

workmanship," "custom quality," "perfect," “magnificent," "comfortable," and "picture

perfect." Id. Assertions that a product is "luxury" are of similar import and thus cannot

sustain a claim for relief.

       Second, the Court notes that although it is possible that the affirmations and

representations in the owner's manual could be viewed as a direct communication from

Yamaha to watercraft purchasers, those statements also fail to sustain a fraud claim

against either defendant. To support an ICFA claim, "the representation must have

been made to [the plaintiff] before the purchase of the merchandise." Camasta, 761

F.3d at 738. The earliest point at which Higgins and McHenry say they received the

owner's manual was at the time of purchase. They do not allege that they received or

reviewed the owner's manual at any time before that.

       Next, the Court turns to Higgins and McHenry's assertion that the



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misrepresentation at issue is the "information center" on each watercraft, which includes

the fuel level meter. They contend that the "information center" is obvious upon looking

at the watercraft or any picture of it and the fuel level meter's presence is a

representation that the watercraft has a device that measures the fuel level. In the

plaintiffs' view, if the watercraft "does not have such a device, or it doesn't do what it

appears to do, there is a misrepresentation by conduct." Pls.' Resp. to Defs.' Mot. to

Dismiss at 6-7.

       The Court is not satisfied that the mere existence of a visible fuel panel is

sufficient to sustain the plaintiffs' ICFA claims. The Illinois Supreme Court has

"repeatedly emphasized that in a consumer fraud action, the plaintiff must actually be

deceived by a statement or omission. If there has been no communication with the

plaintiff, there have been no statements and no omissions." De Bouse v. Bayer, 235 Ill.

2d 544, 555, 922 N.E.2d 309, 316 (2009). And thus, "[u]nder the ICFA, an 'omission' is

an omission from a communication, rather than a general failure to disclose." Darne v.

Ford Motor Co., No. 13 C 3594, 2017 WL 3836586, at *10 (N.D. Ill. Sept. 1, 2017)

(citing De Bouse, 235 Ill. 2d at 555, 922 N.E.2d at 316). The presence of the fuel level

meter on the WaveRunner does not constitute a communication with the plaintiffs from

which consequential information has been omitted, and the plaintiffs have alleged no

deceptive conduct that renders its presence on the information center fraudulent.

       For the same reasons, the Court concludes that Higgins and McHenry's

contention that Nielsen is liable under the ICFA for displaying the watercraft, which had

a fuel level meter on it, also lacks merit. The Court also notes that the complaint itself

includes no allegations that Nielsen actually did display the watercraft or that either



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plaintiff viewed the watercraft or information center while it was being displayed prior to

purchase.

       Finally, the Court turns to the plaintiffs' bare allegation that Yamaha's conduct

was "unfair and deceptive," Am. Compl. ¶ 101 (emphasis added). "Simply adding

language of 'unfairness' instead of 'misrepresentation' does not alter the fact that [a

plaintiff's] allegations are entirely grounded in fraud under the ICFA." Camasta, 761

F.3d at 737. In this case, the plaintiffs have done not even that—beyond including the

language of unfairness once in their complaint, they have made no attempt to develop

the argument that Yamaha's conduct was unfair in their complaint or in their briefing. As

a result, they have forfeited this argument.

       For these reasons, the Court dismisses Higgins and McHenry's ICFA claim.

       2.     Fraud by misleading statement or half-truth

       In Illinois, generally a fraud claim requires "(1) a false statement of material fact;

(2) defendant's knowledge that the statement was false; (3) defendant's intent that the

statement induce the plaintiff to act; (4) plaintiff's reliance upon the truth of the

statement; and (5) plaintiff's damages resulting from reliance on the statement."

Connick v. Suzuki Motor Co., 174 Ill. 2d 482, 496, 675 N.E.2d 584, 591 (1996). But a

defendant may also be liable for common law fraud if they "concealed a material fact"

while "under a duty to disclose that fact to plaintiff." Id. at 500, 675 N.E.2d at 593. "[A]

duty to disclose may arise under Illinois law if the defendant makes an affirmative

statement that it passes off as the whole truth while omitting material facts that render

the statement a misleading 'half-truth.'" Crichton v. Golden Rule Ins. Co., 576 F.3d 392,

398 (7th Cir. 2009).



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       Higgins and McHenry argue that Yamaha had a duty to disclose the alleged

defects with the fuel gauge. They contend that Yamaha "made statements about a fuel

gauge by placing it on the watercraft and made statements in the manual that was

intended to explain its operation to the ultimate user." Pls.' Resp. to Defs.' Mot. to

Dismiss at 11. But as described previously, the plaintiffs have not alleged that they

accessed any statements in the owner's manual prior to purchasing the WaveRunners.

Accordingly, the plaintiffs have not plausibly alleged that those statements provide a

basis for their common law fraud claim. This leaves only their argument that the

presence of the fuel gauge itself was a statement on its own and that it amounted to a

misleading half-truth. The plaintiffs have not plausibly alleged that the mere presence of

the fuel level monitor rises to the level of an affirmative statement being "passed off as

the whole truth while omitting material facts." Crichton, 576 F.3d at 398.

       As a result, the Court dismisses Higgins and McHenry's common law fraud claim.

                                       Conclusion

       For the foregoing reasons, the Court grants the motions to dismiss [dkt. nos. 27,

34]. Unless the plaintiffs file, by August 13, 2024, a motion for leave to amend attaching

a proposed amended complaint stating at least one viable claim over which the Court

has subject matter jurisdiction, the Court will dismiss the case with prejudice. A

telephonic status hearing is set for August 20, 2024 at 9:05 a.m., using call-in number

650-479-3207, access code 980-394-33.


                                                  ________________________________
                                                       MATTHEW F. KENNELLY
                                                       United States District Judge
Date: July 23, 2024



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